UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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 Arvi Clyde Arsenal,

                                     Plaintiff[s],               CIVIL CASE MANAGEMENT PLAN

                                                                 ___-cv-_____
                                                                 23     06631(HG)
                             -against-


 Star Nissan, Inc., et al
                                     Defendant[s].

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HECTOR GONZALEZ, United States District Judge:

         After consultation with counsel for the parties, the following Case Management Plan is

adopted. This plan is also a scheduling order pursuant to Federal Rules of Civil Procedure 16

and 26(f). The parties should not anticipate extensions of the deadlines specified in this order

and shall not make a unilateral decision to stay or halt discovery on the basis of settlement

negotiations, or for any other reason, in anticipation of an extension.

         1.       Fact Discovery

                  a.       The parties are to conduct discovery in accordance with the Federal Rules

                           of Civil Procedure and the Local Rules of the Eastern District of New

                           York. All fact discovery is to be completed by _______________,
                                                                          2/20/2024        which

                           date shall not be adjourned except upon a showing of good cause and

                           further order of the Court.

                  b.       The parties shall list the contemplated discovery activities and anticipated

                           completion dates in Attachment A, annexed hereto. Interim deadlines for
           these discovery activities may be extended by the parties on consent

           without application to the Court, provided the parties are certain that they

           can meet the discovery completion date.

     c.    For all causes of action seeking monetary damages, each party shall

           identify and quantify in Attachment B, annexed hereto, each component of

           damages alleged; or, if not known, specify and indicate by what date

           Attachment B shall be filed providing such information.

     d.    Any motion to amend pleadings or to join additional parties not allowed as

           of right pursuant to the Federal Rules of Civil Procedure must be raised

           through a pre-motion letter that complies with Section IV.A of the Court’s

           Individual Practices by _______________.
                                    10/22/2023

2.   Expert Discovery

     a.    The parties agree that there [is ___ / is not ___
                                                          x ] a need for expert

           discovery.

     b.    All expert discovery is to be completed by _______________,
                                                         n/a           which date

           shall not be adjourned except upon a showing of good cause and further

           order of the Court.

     c.    If the parties agree that there is no need for expert discovery, all discovery

           shall be completed by the deadline for fact discovery, unless – prior to that

           date – a party files a motion seeking an extension for purposes of taking

           expert discovery, which must comply with Section I.D of the Court’s

           Individual Practices. Any such motion should explain why expert




                                     2
           discovery has become necessary and propose a schedule for such

           discovery.

3.   Post-Discovery Motions

     a.    Ten business days after the completion of fact or expert discovery,

           whichever occurs later, the parties shall file pre-motion letters related to

           any proposed motions for summary judgment or motions to exclude the

           testimony of experts pursuant to Rules 702-705 of the Federal Rules of

           Evidence and the Daubert v. Merrill Dow Pharmaceuticals, Inc., 509 U.S.

           579 (1993) line of cases.

     b.    Any such pre-motion letters shall comply with Section IV.A of this

           Court’s Individual Practices, including the requirement that any such

           letters related to a motion for summary judgment contain the statement of

           material facts required by the Eastern District of New York’s Local Civil

           Rule 56.1.

     c.    There shall be no cross-motions. Any motions not raised in a pre-motion

           letter by the deadline specified above will not be considered. The papers

           served and filed pursuant to any motions allowed by the Court shall

           comply with the requirements in Section IV.B of this Court’s Individual

           Practices.

4.   Pre-Trial Submissions

     a.    The case [is ___
                        x / is not ___ ] to be tried to a jury.

     b.    The parties shall submit to the Court for its approval a Joint Pretrial Order

           containing the content described in Section VI.B of the Court’s Individual



                                       3
                    Practices either: (a) within 60 days after the completion of fact or expert

                    discovery, whichever occurs later, or (b) if a post-discovery motion

                    described in Paragraph 3 of this order has been filed, within 30 days after

                    a decision on such motion.

             c.     The parties shall file any motions in limine 30 days in advance of trial in

                    accordance with Section VI.C of the Court’s Individual Practices.

             d.     The parties shall file any requests to charge, proposed verdict sheets, and

                    proposed voir dire questions 10 business days in advance of trial in

                    accordance with Section VI.C of the Court’s Individual Practices.

      5.     This order may not be modified or the dates herein extended, except by further

             order of this Court requested in accordance with Section I.D of the Court’s

             Individual Practices. Requests for extensions will ordinarily be denied if made

             after the expiration of the original deadline. Further, the use of any alternative

             dispute resolution mechanism does not stay or modify any date in this order.

             Indeed, unless the Court orders otherwise, parties engaged in settlement

             negotiations must proceed on parallel tracks, pursuing settlement and conducting

             discovery simultaneously. Parties should not assume that they will receive an

             extension of an existing deadline if settlement negotiations fail.

SO ORDERED.


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                                                       HECTOR GONZALEZ
                                                      United States District Judge
Dated: Brooklyn, New York

                      ., 20   .



                                               4
                                       ATTACHMENT A

        DISCOVERY ACTIVITIES            COMPLETION DATE
                  PRELIMINARY DISCOVERY MATTERS
[If applicable] Initial disclosures required by
Fed. R. Civ. P. 26(a)(1)                                  11/6/2023

[If applicable] HIPAA-required medical
records release authorizations                              n/a


[If applicable] N.Y. Crim. Proc. Law
§ 160.50 releases for arrest records                       n/a


[If applicable] Identification of John Doe/Jane
Doe Defendants                                             n/a


[If applicable] Procedures for producing
Electronically Stored Information (ESI)                   n/a
discussed

[If applicable] Confidentiality order to be
submitted for court approval                               n/a


                                     SETTLEMENT PLAN
Plaintiff to make settlement demand by:
                                                         11/6/2023


Defendant to make settlement offer by:
                                                        11/13/2023


Referral to EDNY mediation program                    Plaintiff requests an immediate referral to the
pursuant to Local Rule 83.8? (If yes, enter           EDNY mediation program.
date for mediation to be completed)

Settlement conference (proposed date)




                                                  5
                                DISCOVERY DEADLINES
Motion to join new parties or amend
pleadings                                          11/22/2023
(cannot be adjourned except by Court order)
Service of requests for production and
interrogatories                                     11/22/2023

Response to requests for production and
interrogatories                                    30 days after service

Service of requests for admissions
                                                    11/22/2023

Response to requests for admissions

                                                      30 days after service
Service of contention interrogatories
                                                    1/12/2024

Response to contention interrogatories
                                                     30 days after service
Completion of fact witness depositions
                                                     2/20/2024

Completion of fact discovery
(cannot be adjourned except by Court order)          2/20/2024


Completion of expert discovery, including
production of reports and related documents
                                                                n/a
and depositions
(cannot be adjourned except by Court order)


                CONSENT TO MAGISTRATE JUDGE JURISDICTION
Parties consent to conducting all further
proceedings in this case, including motions        Yes
and trial with or without a jury, before a        XNo
Magistrate Judge pursuant to 28 U.S.C. §
636(c)



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           COLLECTIVE ACTION AND CLASS ACTION MOTIONS ONLY
Motion for collective action certification in         12/7/2023
FLSA cases (specify deadlines for response
and reply)
Motion for Rule 23 class certification (specify
deadlines for response and reply)                     n/a




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                                           ATTACHMENT B

For all causes of action seeking monetary damages, each party shall identify and
quantify each component of damages alleged:


1.      PLAINTIFF’S CLAIMS:

     Avg. Total Underpayment: $41,551.39
     Liquidated Damages: $41,551.39
     Wage Notice Violations: $5,000
     Wage Statement Violations: $5,000
     PJI (as of 10/23/2023): $715.54




2.      COUNTERCLAIMS AND CROSS-CLAIMS:




3.      THIRD-PARTY CLAIMS:




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